Case: 3:20-cv-00915-jdp Document #: 1 Filed: 10/05/20 Page 1 of 6
Case: 3:20-cv-00915-jdp Document #: 1 Filed: 10/05/20 Page 2 of 6
Case: 3:20-cv-00915-jdp Document #: 1 Filed: 10/05/20 Page 3 of 6
Case: 3:20-cv-00915-jdp Document #: 1 Filed: 10/05/20 Page 4 of 6
Case: 3:20-cv-00915-jdp Document #: 1 Filed: 10/05/20 Page 5 of 6
Case: 3:20-cv-00915-jdp Document #: 1 Filed: 10/05/20 Page 6 of 6
